  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 1 of 32


       Agency Name                                                      IIVALMINI I /INVCO I IUM I ILJP1                              Case#
                                                                                                                                                         14-05401
                    St. Lucie County Sheriff's Office                                     REPORT                                      Date /Time Reported
 I     ORI                                                                                                                                       05/11/2014 18:03 Sun
 N                              FL 0560000                             **    Contains Restricted Names **                             Last Known Secure
       Location of Incident                                                  Premise Type                          Zone/tract                    05/11/2014 18:03 Sun
 1                                                                                                                                    At Found
 D            301 Prima Vista Blvd Port St Lucie FL 34983-                      Pharmacy               Z09                                       05/11/2014 14y:93 Sun
 E     ui      Crime Incident(s)                                 (Com) Weapon / Tools HANDS/F1S7'/FEET                                                              Activity
 N     It i    Assault / Battery                                             Entry                          Exit                          Security
 T
               SCA
 13            Crime Incident                                    (Com) Weapon / Tools                                                                           I   Activity
 A     #2      Obstruction                                                                                                                Security
 T                                                                           Entry                          Exit
 A             OBS
               Crime Incident                                    (       ) Weapon / Tools                                                                       1   Activity
       413
                                                                             Entry                          Exit                          Security

 MO

       4 of Victims 4         Type: LAW ENFORCEMENT                                         Injury: Apparent Minor Injury              Domestic: N
            Victim/Business Name (Last, First, Middle)                                    Victim of    DOB     I Race Sex Relationship Resident Status   Military
                                                                                          Crime 4                         To Offender                  Branch/Status
  V    Vl       NEWMAN, CHRISTOPHER ERIK                                                                       i W M OT
  I             Restricted                                                                   1,                                         Resident
  C    Home Address                                                                                                                        Home Phone
  T                                                                                                                                                                        - -
                                                                                                                         Business Phone               Mobile Phone
  MI   Employer Name/Address

       VYR          Make        1 Model        I Style       I Color             I Lic/Lis                               VIN

        CODES: V- Victim (Denote V2, V3) 0 = Owner (if other than victim)            R = Reporting Person (if other than victim)
        Type: LAW ENFORCEMENT                                                               Injury: Apparent Minor Injury
 0
 T     Code Name (Last, First, Middle)                                                   vdgig V        DOB        I Race( Sex                   Resident Status B Military
                                                                                                                                                                    c
                 MANGRUM, CLAYLAN EDGAR                                                                                         ilttirdleil
 H
 E     V2        Restricted                                                                 1,                      i W        M OT                  Resident
 R     Home Address                                                                                                                        Home Phone
 S
       Employer Name/Address                                                                                             Business Phone               Mobile Phone
  I                                        St Lucie Co. Sheriff's Office
 N      Type: INDIVIDUAL/ NOT LAW ENFORCEMENT                                               Injury: Apparent Minor Injury
 V                                                                                       Victim of    DOB      Race Sex Relationship Resident Status    Military
       Code Name (Last, First, Middle
 O              ROSARIO, JOSE ELIEZER                                                    Crime #                          To Offender                Branch/Status
 L     V3                                                                                    1,       Age             W        MOT
       Home Address                                                                                                                        Home Phone
 E
 D
       Employer Name/Address                                                                                             Business Phone               Mobile Phone
                                           Saint Lucie Sountv Fire Dist                                                                                                          ,
       L = Lost S = Stolen R = Recovered D = Damaged Z = Seized B = Burned C = Counterfeit / Forged F = Found
                                  c"OJ" = Recovered for Other Jurisdiction)
       VI        Status
       4_ Code Frtairc    Value     OJ QTY                    Property Description                  Make/Model                                             Serial Number
              25CP EVID            $0.00        I   BLUE PLAID BOXERS
              25CP EVID            $0.00        I   GREEN SHIRT
 P            25CP EVID            $0.00        0   BLACK SHOR7S
 R            6ICP EVID            S0.00        0   SILVER COLOR CHAIN WITH CROSS
 0                                              7   VIDEO/CPS/PHONE/INTERVIEWS
              07PE EVID            $0.00
 P
 E            091a1 EVID           $0.00      1 TISSUE
 R            83CP EVID            $0.00        I   SHOES-L. FLIPFLOP
 T
              65CP EVID            $0.00        1 GLOVES
 Y
              03CP EVID            50.00        1   BALL CAP/TOWEL
              83CP EVID            $0.00        I   SHOES-FLIP FLOP
              I ICS EVID           S0.00        1   DNA SWABBING-PM#7
              11CS_EVID            50.00        1   DNA SWABBING-PM 08
       Officer/ID#         Treviso'. Joseph  (PTRL, NS) (1460)
                           Blatchford David T (CID, DCI) (1579)                                             Supervisor      Parrett, Daniel T          (PTRL NS) (391)
       Invest ID#
statu. Complainant Signature                             Case Status                                        Case Disposition:
                                                         Cleared By Arrest                 05/11/2014            Cleared By Arrest            05/11/2014       Page 1
       Printed By: BLATCHFORDD,                                                                                  Sys#: 176364                          10/07/2014 09:16:11
     Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 2 of 32
                             Incident Report Additional Property List
St. Lucie County Sheriff`s Office                                                                                           OCA: 14-05401

                                                            Property List (Continued)                                                          Page 2
Status   L = Lost S = Stolen R = Recovered D = Damaged   Z = Seized   B = Burned    C = Counterfeit / Forged    F = Found
Codes
      VI       Status
       # Code Frm/To      Value     OJ QTY                   Property Description                              Make/Model            Serial Number

        67CP EVID           $0.00         1   BLACK CROSS
        63CP EVID           $0.00         1   CARD
15      53CP EVID           $0.00         1   LIGHTERS AND CIGAR
        21NI   EVID         $0.20         1   COINS
        63CP EVID           $0.00         1   LATEX GLOVES
        11CS EVID           $0.00         1   DNA SWABBING-PM #6
        37NP EVID           $0.00         1   SCREW DRIVERS
20      07PE EVID           $0.00         1   CD`S / DVD`S/VIDEO FROM CVS CORPORATE




 R_CS5IBR                                                                                              Printed By: BLATCHFORDD,         10/07/2014 09:16
Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 3 of 32
                          Incident Report Additional Name List
St. Lucie County Sheriff`s Office                                                                         OCA: 14-05401

                                                         Additional Name List                                                 Page 3

                                                   ** Contains Restricted Names **
                                                                                                   Victim of
    NameCode/#       Name (Last, First, Middle)                                                     Crime #    DOB        Age Race Sex

1 ) VI     5         ROBINSON, CALVIN                                                               1,                         B   M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

2 ) WI 1             MAHONEY, SHAUN                                                                                            W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

3 ) WI 2             BROWN, MARK WAYNE                                                                                         W M
           Address                                                                                               H:
        Empl/Addr    Cvs Pharmacy, 301 Ne Prima Vista Blvd                                                       B:
                                                                                                           Mobile #:

4 ) WI 3             BOLES, LEAHA NICHOLE                                                                                      W F
           Address                                                                                               H:
        Empl/Addr    Cvs Pharmacy, 301 Ne Prima Vista Blvd                                                       B:
                                                                                                           Mobile #:

5 ) WI 4             GILEWSKI, SAMANTHA                                                                                        W F
           Address                                                                                               H:
        Empl/Addr    Cvs, 301 Ne Prima Vista Blvd                                                                B:
                                                                                                           Mobile #:

6 ) VI     4         ROSARIO, JOSE ELIEZER                                                          1,                         W M
           Address                                                                                               H:
        Empl/Addr    Saint Lucie Sounty Fire Dist                                                                B:
                                                                                                           Mobile #:

7 ) IO 1             MAHONEY, SHAUN                                                                                            W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

8 ) WI 5             SINCLAIR, THOMAS                                                                                          W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

9 ) WI 6             ROSARIO, JOSE                                                                                             W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:




 R_CS7NC                                          Printed By: BLATCHFORDD,      10/07/2014 09:16
Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 4 of 32
                          Incident Report Additional Name List
St. Lucie County Sheriff`s Office                                                                         OCA: 14-05401

                                                         Additional Name List                                                 Page 4

                                                   ** Contains Restricted Names **
                                                                                                   Victim of
    NameCode/#       Name (Last, First, Middle)                                                     Crime #    DOB        Age Race Sex

10 ) WI 7            BHAGUDAS, HARDYAL                                                                                         W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

11 ) WI 8            TAYLOR, ZACKERY                                                                                           W M
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

12 ) WI 9            WUNDERLICH, CATHY C                                                                                       W F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

13 ) WI 10           KANHAI, MERINE                                                                                            W F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

14 ) WI 11           KAHNAI, ARIANA                                                                                            W F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

15 ) WI 12           RANDOLPH, SHANNON MARIE DENISE                                                                            W F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

16 ) IO 2            DOCHER, JUNE CAROL                                                                                        B   F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

17 ) IO 3            SPEARS, STEPHANY                                                                                          B   F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:

18 ) IO 4            DOCHER-NEELEY, JANICE                                                                                     B   F
           Address                                                                                               H:
        Empl/Addr                                                                                                B:
                                                                                                           Mobile #:




 R_CS7NC                                          Printed By: BLATCHFORDD,      10/07/2014 09:16
         Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 5 of 32
                                  INCIDENT/INVESTIGATION REPORT By: BLATCHFORDD,     10/07/2014 09:16

                                                                                     Page 5
  St. Lucie County Sheriff`s Office                                                                                                   Case#      14-05401
Status     L = Lost   S = Stolen    R = Recovered   D = Damaged   Z = Seized   B = Burned   C = Counterfeit / Forged   F = Found
Codes

         UCR Status           Quantity     Type Measure                    Suspected Type                                          Up to 3 types of activity


  D
  R
  U
  G
  S




         Assisting Officers
          MASCARA, K.J. (1178), WILSON, G.R. (1177), CARMICHAEL, D. (710), ROTHMAN, J.D. (154), DIETRICH, K.A. (443),
          GOODNER, A.K. (312), ZIARKOWSKI, R. (680), SHEELAR, M.J. (485), DEFONZO, J.J. (728), SESSOMS, P.S. (635),
         Suspect Hate / Bias Motivated:    Unknown (Offender`s motivation not known)

                                                           INCIDENT/INVESTIGATION REPORT
Narr. (cont.) OCA: 14-05401                                   St. Lucie County Sheriff`s Office                                                                Page 5
 NARRATIVE
 Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 6 of 32
                           REPORTING OFFICER NARRATIVE                OCA
St. Lucie County Sheriff`s Office                                                 14-05401
   Victim                                              Offense                Date / Time Reported
       NEWMAN, CHRISTOPHER ERIK                           ASSAULT / BATTERY     Sun 05/11/2014 18:03



    ON MAY 11, 2014 AT APPROXIMATLEY 6:03 PM, DEPUTIES NEWMAN, MANGRUM, AND ROBINSON
    WERE CALLED TO 301 NE PRIMA VISTA BOULEVARD FOR A 911 HANG UP CALL. UPON THIER
    ARRIVAL, THEY MADE CONTACT WITH TAVARES DOCHER WHO WAS WEARING A GREEN SHIRT
    AND BLACK BASKETBALL SHORTS.

    I SPOKE TO DEPUTIES NEWMAN, MANGRUM, AND ROBINSON SEPARATELY. THEY TOLD ME THE
    FOLLOWING: DOCHER WAS ACTING INTOXICATED (BY BEING UNSTEADY ON HIS FEET, SPEAKING
    LOUDLY AND SWINGING OF HIS HANDS / ARMS) AND ARMED WITH A SCREWDRIVER IN HIS RIGHT
    HAND. DEPUTY MANGRUM WAS ABLE TO GET DOCHER TO DROP THE SCREWDRIVER. DOCHER
    TOLD NEWMAN HE HAD A FEW DRINKS WHILE WATCHING THE GAMES ON TELEVISION. THE
    DRINKS WENT FROM LIQUOR TO "NATTY ICE" SAYING HOW ITS REALLY STRONG BEER. DEPUTY
    NEWMAN CONTINUED TELLING ME DOCHER WAS TALKING ABOUT HOW THE ARABS WERE
    TRYING TO KILL HIS MOTHER AND HIM BECASUE THEY KNOW WHERE THE ARABS DROPPED THE
    HEADLESS BODY IN SAINT LUCIE COUNTY. DEPUTY NEWMAN ALSO SAID DOCHER WAS ABLE TO
    SAY WHO AND WHERE HE WAS; THEREFORE, THEY DID NOT SEE BAKER ACT AS A MEANS TO THE
    END. DEPUTY NEWMAN TOLD DOCHER TO PUT HIS HANDS BEHIND HIS BACK THAT HE WAS
    UNDER ARREST FOR DISORDERLY INTOXICATION, DUE TO HIM BEING INTOXICATED AND
    CAUSING A DISTURBANCE. DOCHER DID NOT HAVE ANY ISSUES WITH THIS AND COMPLIED WITH
    ORDERS BEING SECURED IN HANDCUFFS. DEPUTY NEWMAN THEN TOLD DOCHER TO SIT DOWN IN
    THE PATROL CAR AND PUT HIS FEET INSIDE. DEPUTY ROBINSON TOLD ME HE USED HIS RIGHT
    HAND TO FORCE DOCHER INTO THE BACK SEAT OF THE PATROL CAR. DOCHER LOOKED AT ALL
    THREE DEPUTIES THEN TOOK OFF OUT THE CAR WITH A KNEE SPIKE NOT STRIKING ANYONE.
    DEPUTY ROBINSON WAS ATTEMPTING TO STRIKE LARGE MUSCLE MASS AREAS IN AND ABOUT
    HIS LEGS AND HIPS. ALL THREE DEPUTIES GRABBED DOCHER. DOCHER CONTINUED TO
    STRUGGLE, STRIKING DEPUTY NEWMAN IN THE LEFT EYE WITH HIS RIGHT ELBOW WHILE
    ATTEMPTING TO BITE AT THE DEPUTIES. WHILE ALL THREE DEPUTIES WERE ON DOCHER`S
    BACK, HE WAS STILL ABLE TO RUN FIVE TO EIGHT FEET BEFORE BEING TAKEN TO THE GROUND.
    WHILE ON THE GROUND DEPUTY MANGRUM UTILIZED PALM HEEL STRIKES TO LARGE MUSCLE
    AREAS INCLUDING THE SHOULDERS, CHEST AND BACK. DEPUTY NEWMAN APPLIED HIS RIGHT
    THUMB TO THE NERVE MASS IN THE NECK TO GAIN COMPLIANCE UNSUCCESSFULLY. DOCHER
    THEN ATTEMPTED TO BITE DEPUTY NEWMAN AGAIN. DEPUTY NEWMAN THEN GAVE AN ELBOW
    STRIKE TO THE RIGHT SIDE OF DOCHERS HEAD. DOCHER WAS ABLE TO SLIP THE HANDCUFFS TO
    HIS ELBOW ON HIS RIGHT ARM ALLOWING HIM THE ABILITY TO PUSH OFF THE GROUND LIFTING
    ALL THREE DEPUTIES. DEPUTY ROBINSON APPLIED A LEG RIDE TO GAIN CONTROL AND
    COMPLIANCE; HOWEVER, DOCHER WAS ABLE TO UTILIZE HIS LEGS TO KICK ROBINSON PUSHING
    HIM INTO DEPUTIES NEWMAN AND MANGRUM. DEPUTY MANGRUM CALLED FOR RESCUE TO
    RESPOND TO TREAT DOCHERS INJURIES WHILE THEY WERE STILL TRYING TO DETAIN HIM.
    DEPUTY ALONGE ARRIVED AND WAS ABLE TO ASSIST IN KEEPING DOCHER ON THE GROUND.
    DEPUTY NEWMAN WENT TO HIS VEHICLE IN ORDER TO GET TOWELS TO STOP THE BLEEDING. AS
    RESCUE ARRIVED AND ATTEMPTED TO RENDER AID, FIREFIGHTER JOSE ROSARIO WAS KICKED IN
    THE LEG NEARLY TAKING HIM TO THE GROUND. RESCUE WAS THEN ABLE TO GIVE DOCHER A
    SHOT OF AN UNKNOWN MEDICINE CAUSING HIM TO BE SEDATED AND TRANSPORTED TO THE
    HOSPITAL.

    AT THIS TIME, DOCHER IS IN THE PORT SAINT LUCIE HOSPITAL EMERGENCY ROOM BEING
    TREATED FOR THE UNKNOWN INTOXICATION AS WELL AS THE INJURIES SUSTAINED DURING THE
    ARREST.


   Reporting Officer:   TREVISOL, JOSEPH                                                             Page 6
   Printed By: BLATCHFORDD,         10/07/2014 09:16
 Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 7 of 32
                           REPORTING OFFICER NARRATIVE                OCA
St. Lucie County Sheriff`s Office                                                 14-05401
   Victim                                              Offense                Date / Time Reported
       NEWMAN, CHRISTOPHER ERIK                           ASSAULT / BATTERY     Sun 05/11/2014 18:03


    WRITTEN STATEMENTS WERE OBTAINED AND GIVEN TO DETECTIVES ON SCENE. CRIME SCENE
    LOG WAS COMPLETED BY DEPUTY ALONGE AND LATER SECURED IN RECORDS UNIT.




   Reporting Officer:   TREVISOL, JOSEPH                                                             Page 7
   Printed By: BLATCHFORDD,         10/07/2014 09:16
    Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 8 of 32
                                                                Incident Report Suspect List
St. Lucie County Sheriff`s Office                                                                                                            OCA: 14-05401


     Name (Last, First, Middle)                                         Also Known As                                      Home Address
1
       DOCHER, TAVARES LEKEITH
     Business Address


       DOB.             Age         Race   Sex      Eth    Hgt          Wgt          Hair         Eye           Skin       Driver's License / State.
                                    B      M                    509
      Scars, Marks, Tattoos, or other distinguishing features




     Reported Suspect Detail            Suspect Age                   Race     Sex          Eth     Height                 Weight                      SSN

     Weapon, Type         Feature            Make                 Model                                 Color          Caliber      Dir of Travel
                                                                                                                                    Mode of Travel
     VehYr/Make/Model                          Drs Style                      Color                Lic/St                            VIN


     Notes                                                                                                Physical Char




R_CS8IBR                      Printed By: BLATCHFORDD,                 10/07/2014 09:16                                                                      Page 8
     Case 2:16-cv-14413-RLR Document
                             Incident 134-1
                                      ReportEntered
                                            Relatedon FLSD Docket
                                                    Property List 10/27/2017 Page 9 of 32


 St. Lucie County Sheriff`s Office                                                                                       OCA: 14-05401




     Property Description                                                     Make                            Model                       Caliber
 1
      BLUE PLAID BOXERS
     Color                        Serial No.                              Value                        Qty              Unit    Jurisdiction
                                                                                               $0.00         1.000                        Locally
     Status                       Date                   NIC #                      State #                  Local #            OAN
      Evidence                           05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age     Race            Sex
      DOCHER, TAVARES LEKEITH                                                                                                         B              M
     Notes
        Collected from hospital at 19:30

     Property Description                                                     Make                            Model                       Caliber
 2
      GREEN SHIRT
     Color                        Serial No.                              Value                        Qty              Unit    Jurisdiction
                                                                                               $0.00         1.000                        Locally
     Status                       Date                   NIC #                      State #                  Local #            OAN
      Evidence                           05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age     Race            Sex
      DOCHER, TAVARES LEKEITH                                                                                                         B              M
     Notes
        Collected at hospital at 19:30

     Property Description                                                     Make                            Model                       Caliber
 3
      BLACK SHORTS
     Color                        Serial No.                              Value                        Qty              Unit    Jurisdiction
                                                                                               $0.00         0.000                        Locally
     Status                       Date                   NIC #                      State #                  Local #            OAN
      Evidence                           05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age     Race            Sex
      DOCHER, TAVARES LEKEITH                                                                                                         B              M
     Notes
        Collected at hospital at 19:30

     Property Description                                                     Make                            Model                       Caliber
 4
      SILVER COLOR CHAIN WITH CROSS
     Color                        Serial No.                              Value                        Qty              Unit    Jurisdiction
                                                                                               $0.00         0.000                        Locally
     Status                       Date                   NIC #                      State #                  Local #            OAN
      Evidence                           05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age     Race            Sex
      DOCHER, TAVARES LEKEITH                                                                                                         B              M
     Notes
        Collected at hospital at 19:30




R_CS0IBR                          Printed By: BLATCHFORDD,       10/07/2014 09:16                                                                    Page 9
     Case 2:16-cv-14413-RLR Document  134-1 Related
                             Incident Report Entered Property
                                                     on FLSD Docket
                                                              List  10/27/2017 Page 10 of
                                             32

 St. Lucie County Sheriff`s Office                                                                                       OCA: 14-05401




     Property Description                                                     Make                            Model                         Caliber
 5
      VIDEO/CVS/PHONE/INTERVIEWS
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         7.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/12/2014                                                                                        14-5401
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes


     Property Description                                                     Make                            Model                         Caliber
 6
      TISSUE
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTOMARKER #1 TISSUE COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE PRIMA VISTA
        BLV COLLECTED 5/11/14 @2124 HOURS

     Property Description                                                     Make                            Model                         Caliber
 7
      SHOES-L. FLIPFLOP
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER # 2 LEFT FLIP FLOP COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE
        PRIMA VISTA BLV COLLECTED 5/11/14 @2124 HOURS

     Property Description                                                     Make                            Model                         Caliber
 8
      GLOVES
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER # 3 PURPLE LATEX GLOVES COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301
        NE PRIMA VISTA BLV COLLECTED 5/11/14 @2125 HOURS




R_CS0IBR                          Printed By: BLATCHFORDD,       10/07/2014 09:16                                                                    Page 10
     Case 2:16-cv-14413-RLR Document 134-1 32
                                           Entered on Report
                                             Incident FLSD Docket  10/27/2017
                                                             Related           Page 11 of
                                                                     Property List
                                            32

 St. Lucie County Sheriff`s Office                                                                                       OCA: 14-05401




     Property Description                                                     Make                            Model                         Caliber
 9
      BALL CAP/TOWEL
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER # 4 DENIM "FLORIDA" BALL CAP AND A WHITE TOWEL COLLECTED FROM NW PARKING
        LOT OF CVS LOCATED 301 NE PRIMA VISTA BLV COLLECTED 5/11/14 @2125 HOURS

     Property Description                                                     Make                            Model                         Caliber
10
      SHOES-FLIP FLOP
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER # 5 FLIP FLOP COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE PRIMA
        VISTA BLV COLLECTED 5/11/14 @2125 HOURS

     Property Description                                                     Make                            Model                         Caliber
11
      DNA SWABBING-PM#7
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        DNA SWABBING FROM PHOTO MARKER #7 COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE
        PRIMA VISTA BLV COLLECTED 5/11/14 @2117 HOURS

     Property Description                                                     Make                            Model                         Caliber
12
      DNA SWABBING-PM #8
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                           0
     Notes
        DNA SWABBING FROM PHOTO MARKER #8 COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE
        PRIMA VISTA BLV COLLECTED 5/11/14 @2123 HOURS




R_CS0IBR                          Printed By: BLATCHFORDD,       10/07/2014 09:16                                                                    Page 11
                                           32
     Case 2:16-cv-14413-RLR Document 134-1 Entered on Report
                                                      FLSD Docket  10/27/2017  Page 12 of
                                             Incident        Related Property List
                                           32

 St. Lucie County Sheriff`s Office                                                                                       OCA: 14-05401




     Property Description                                                     Make                            Model                         Caliber
13
      BLACK CROSS
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER # 10 BLACK CROSS COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE PRIMA
        VISTA BLV COLLECTED 5/11/14 @2125 HOURS

     Property Description                                                     Make                            Model                         Caliber
14
      CARD
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKE # 11 A DETOX CARD "SUNRISE DETOX" NAME KRISTIAN R ON BACK COLLECTED FROM NW
        PARKING LOT OF CVS LOCATED 301 NE PRIMA VISTA BLV COLLECTED 5/11/14 @2123 HOURS

     Property Description                                                     Make                            Model                         Caliber
15
      LIGHTERS AND CIGAR
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER #12 YELLOW LIGHTER AND CIGAR COLLECTED FROM NW PARKING LOT OF CVS
        LOCATED 301 NE PRIMA VISTA BLV COLLECTED 5/11/14 @2127 HOURS

     Property Description                                                     Make                            Model                         Caliber
16
      COINS
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.20         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                               0
     Notes
        DIMES 1 AND 2 COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE PRIMA VISTA BLV
        COLLECTED 5/11/14 @2126 HOURS




R_CS0IBR                          Printed By: BLATCHFORDD,       10/07/2014 09:16                                                                    Page 12
                                           32
     Case 2:16-cv-14413-RLR Document 134-1 Entered on Report
                                                      FLSD Docket  10/27/2017  Page 13 of
                                             Incident        Related Property List
                                           32

 St. Lucie County Sheriff`s Office                                                                                       OCA: 14-05401




     Property Description                                                     Make                            Model                         Caliber
17
      LATEX GLOVES
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        PHOTO MARKER #9 PURPLE LATEX GLOVES COLLECTED FROM NW PARKING LOT AT 301 NE PRIMA VISTA
        BLV 5/11/14 @2126 HOURS

     Property Description                                                     Make                            Model                         Caliber
18
      DNA SWABBING-PM #6
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        DNA SWABBING FROM PHOTO MARKER # 6 COLLECTED FROM NW PARKING LOT OF CVS LOCATED 301 NE
        PRIMA VISTA BLV COLLECTED 5/11/14 @2117 HOURS

     Property Description                                                     Make                            Model                         Caliber
19
      SCREW DRIVERS
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            05/11/2014
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes
        BLACK AND YELLOW HANDLE FLAT HEAD SCREW DRIVER COLLECTED BY CSI CARMICHAEL AT THE ST
        LUCIE COUNTY SHERIFFS OFFICE DETECTIVES BUREAU 5/11/14 @2201

     Property Description                                                     Make                            Model                         Caliber
20
      CD`S / DVD`S/VIDEO FROM CVS CORPORATE
     Color                        Serial No.                              Value                        Qty              Unit        Jurisdiction
                                                                                               $0.00         1.000                         Locally
     Status                       Date                   NIC #                      State #                  Local #                OAN
     Evidence                            06/08/2014                                                                                       14-05401
     Name (Last, First, Middle)                                                               DOB                      Age         Race            Sex
                                                                                                                               0
     Notes




R_CS0IBR                          Printed By: BLATCHFORDD,       10/07/2014 09:16                                                                    Page 13
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 14 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                  OCA: 1405401


Case Status: CLEARED BY ARREST                Case Mng Status: PENDING / ACTIVE                    Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: COURTEMANCHE, WADE R           (1713)                    Date / Time: 05/11/2014 20:12:11, Sunday
Supervisor: SHEELAR, MICHAEL J       (485)            Supervisor Review Date / Time: 05/27/2014 14:54:23, Tuesday
   Contact:                                                             Reference: Assist Primary Officer



 On May 11th, 2014 I heard a call over the radio for Deputies requesting assistance on a call at the CVS at 301 E Prima
 Vista Blvd. I arrived at approx 1834 hrs to assist. As arrived I observed a handcuffed subject on the ground being very
 combative with three Deputies. The subject was kicking,throwing around his head in a headbutting motion and tried to
 bite the Deputies. I heard several times the Deputies tell the subject to stop resisting and calm down. As I approached
 from my vehicle the subject appeared to have been subdued. At this time Deputy Newmann was applying aid to a cut on
 the subjects head. Deputy Mangrum and Deputy Trainee Robinson were holding the subject down for his safety. The
 subject would continue to kick every now and again. At this time a white male in a red shirt, dark shorts and a visor hat
 that was videotaping the incident with his cellphone. I told the subject who was later identified as Shaun Mahoney to
 stop taping and leave the area if he was not involved.

 St Lucie Rescue arrived a short time later and as they attempted to place the subject onto the backboard he again began
 fighting the Deputies and rescue personnel. The subject was kicking and trying to bite the Deputies. One of the rescue
 personnel gave the subject a shot. The shot appeared to calm the subject as he was then loaded onto the stretcher
 without further struggle. While this was going on I again observed Mahoney videotaping the incident. I approached
 Mahoney and told him to stop videotaping and go into the store and shop to finish his business. He mumbled something
 and went into the store.

 The arrested combative subject was taken by rescue. At the time of this report I do not know the subjects name.




                                                                                                                     Page 14
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 15 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                 OCA: 1405401


Case Status: CLEARED BY ARREST                   Case Mng Status: PENDING / ACTIVE               Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: FAVALE, MICHAEL       (1788)                            Date / Time: 05/11/2014 20:35:00, Sunday
Supervisor: ZIARKOWSKI, RICHARD          (680)       Supervisor Review Date / Time: 05/12/2014 00:26:43, Monday
   Contact:                                                            Reference: On Scene Supplement



 On Sunday 05/11/2014 at approximately 18:28 hours I responded to 301 East Prima Vista Boulevard (CVS) to assist
 Deputy Mangrum #213, Deputy Robinson #314, and Deputy Newman #280 with a combative suspect. They requested
 additional units over the radio. They`re voice was heightened and they`re breathing was heavier than normal.

 Upon arrival I saw a black male on the ground, lying on his left side with his head to the south and legs to the north.
 Deputy Newman, Deputy Robinson, and Deputy Mangrum were restraining the suspect.

 Rescue 3 also arrived on scene at the same time.

 The suspect appeared calm at this time. He was breathing heavily and his eyes were open. He had a laceration above his
 right eye and he was bleeding from his mouth. There was a puddle of blood on the ground under his head. He was also
 in handcuffs.

 Rescue attempted to pick the suspect up off the ground to get him onto the gurney and the suspect began to fight again.
 He was kicking his feet wildly. Deputy Robinson restrained his shoulders and head I restrained his left leg by applying
 pressure to the inside of his thigh with me left knee. I also restrained his waist by applying pressure to his right hip with
 my left hand. Deputy Alonge #214 was behind me restraining the suspect`s right leg. While restraining the suspect
 rescued administered Adivan to sedate him. After several minutes the suspect calmed down and we were able to lift him
 onto the gurney. Rescue transported the suspect to Port Saint Lucie Hospital Emergency Room. I followed rescue to the
 emergency room to standby with the suspect.

 Deputy Difilippi #576 later arrived on scene and custody of the suspect was turned over to him.

 There is no further information at this time.




                                                                                                                     Page 15
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 16 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST                Case Mng Status: PENDING / ACTIVE                Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: PFEIFFER, KEVIN R     (1327)                         Date / Time: 05/11/2014 22:52:24, Sunday
Supervisor: SHEELAR, MICHAEL J        (485)       Supervisor Review Date / Time: 05/27/2014 14:54:23, Tuesday
   Contact:                                                         Reference: Follow Up



 I met with Shaun Mahoney in the lobby of the Sheriff`s Office. I explained the consent to search waiver to him.
 Mahoney`s only concern was ensuring the phone would be returned to him that night. I assured him it would be.
 Mahoney signed the consent to search form. I was provided the cellular phone from Sgt. Sheelar at 2130hrs. The
 phone had previously been placed in airplane mode to isolate it from the network. I attached the phone to my issued
 Cellebrite UFED (SN: 5616182) and set the extraction for a logical extraction for videos only. Videos were extracted
 and videos from only May 11, 2014 were included in the report. The phone was returned to Mahoney at about 2200hrs.
 I will provide a copy of the report to Detective Blatchford.




                                                                                                                 Page 16
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 17 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                OCA: 1405401


Case Status: CLEARED BY ARREST                  Case Mng Status: PENDING / ACTIVE               Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: CARMICHAEL, DONNA         (710)                        Date / Time: 05/12/2014 11:33:16, Monday
Supervisor: SESSOMS, PERRY S        (635)           Supervisor Review Date / Time: 05/12/2014 14:29:51, Monday
   Contact:                                                           Reference: Crime Scene



 At approximately 6:53 pm, On Sunday, May 11, 2014 Sergeant Sheelar requested this writer to respond to the St. Lucie
 Medical Center in reference to an in custody incident. Upon arrival, Sergeant Parrett advised that the manger of CVS
 called due to a male subject having a screwdriver. While the deputies were trying to put the subject in a patrol car the
 subject bolted and then the subject fought with the deputies. Fire rescue responded and transported the subject to the
 hospital.

 Overall photographs and photos of injuries were taken of Deputy Newman, Deputy Robinson, and Deputy Mangrum.
 Overall and close up photographs were taken of the subject. Abrasions were observed on the subjects top right foot
 (1cm x 3 mm), side of left knee, top of his left shoulder (5cm x 4cm), on his left cheek (4cm x 1cm), his right temple
 (2cm), and two on his left ear (1mm each). The measurements are approximate sizes that were taken by the nurse. The
 subjects clothing and personal effects were collected for evidence.

 After leaving the hospital I responded to the scene were I assisted Crime Scene Detective Byrnes and Crime Scene
 Assistant Vazquez with documenting the scene.




                                                                                                                  Page 17
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 18 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST               Case Mng Status: PENDING / ACTIVE                 Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: CHAPMAN, BURGESS F       (1039)                      Date / Time: 05/12/2014 12:50:08, Monday
Supervisor: SHEELAR, MICHAEL J       (485)        Supervisor Review Date / Time: 05/27/2014 14:27:35, Tuesday
   Contact:                                                         Reference: Follow Up



 On May 11, 2014, at about 2000 hours I was called out to 301 N. E. Prima Vista Blvd., Port St. Lucie Florida in
 reference to injuries sustained to a subject and deputies involved. Upon arrival I was asked to conduct interviews with
 witnesses.

  At 2041 hours, I conducted an interview with Mark Wayne Brown, CVS employee. Brown said a black male, thin
 build, wearing a green shirt and black basketball shorts, walked into the store. The subject began talking loud and not
 making much sense. Subject asked Brown to call 911 for him saying, somebody is at his house and threatening him. The
 subject also told Brown that he had change missing from his laundry room and the police were at his house earlier.
 Brown said the man had a screwdriver in his hand and there were about six other customers in the store at the time. He
 became concerned for these customers, due to the irrational behavior by the subject. Brown said he did call 911 and
 handed the phone to the subject. Brown said the subject continued to be loud and rambling on to the 911 dispatcher.
 The guy was not making any sense and the customers in the store kept looking at him. Brown said the man gave him
 back the phone and he tried to speak with the dispatcher, but he just could not understand the subject. Dispatch advised
 Brown they were sending deputies to him. Brown said his manager Hardyal Bhagudas walk-up, pushing a cart and the
 man set the screwdriver on the cart. Bhagudas asked the man to pick up the screwdriver, which he did. Brown said the
 man walked out of the store and began smoking a cigar, prior to deputies arriving. Brown said once the man left the
 store he went back to work and did not see anything else. Brown told me he thought the man was, "higher than a kite".

  At 2053 hours, I conducted an interview with Hardyal Bhagudas, store manager of CVS. Bhagudas said he walked to
 the front of the store, while pushing a cart and observed Brown on the phone with 911. He said there was a subject with
 a screwdriver in his hand, talking very loudly. He said the guy was not making much sense and saying 441 and money
 on machine, but he could not understand what the guy was talking about. He said, as he walked up, the subject placed
 the screwdriver on his cart. He told the man to take the screwdriver back so the man picked it up. While holding a
 screwdriver in his hand the man purchased a black and mild cigar and then walked out the front door. Bhagudas walk
 out behind the man as two deputies arrived on scene. He said there were two deputies in a single car who confronted the
 subject. He told one of the deputies the man had a screwdriver while he was in the store. Bhagudas then walked back
 into the store. He said shortly after customers came in saying there was a commotion in the parking lot, so he stepped
 out the front door and observed three deputies struggling with the subject. He told me it appeared that one of the
 deputies had scrapes on his elbow and the subject was continuing to fight with the deputies. He emphasized to me that
 the subject was really fighting with the deputies. A short time later an ambulance arrived on scene. He told me the guy
 was very irrational and was not making any sense, which made him worry for the customers in the store. Bhagudas said
 he felt the guy was high on something.

  I responded to 480 Ravenswood, Fire Station 3, to conduct interviews with paramedics on scene. I first spoke with
 paramedic José Rosario. Rosario said they received a 911 call to assist the Sheriff`s Office, in reference to a subject
 with a laceration to his head. He said upon his arrival he observed several deputies on top of a subject, who was still
 struggling with them. He observed a pool of blood around the subjects head and a laceration above the right eye. He
 told me they tried to get the subject onto a backboard, but the subject was fighting too much and were unable to do so.




                                                                                                                 Page 18
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 19 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                               OCA: 1405401


Case Status: CLEARED BY ARREST              Case Mng Status: PENDING / ACTIVE                  Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

He said the subject would calm down for a few seconds that then become combative again. He told me they managed to
get the subject into the ambulance and they placed him on a monitor. Rosario realized the subject had no pulse and was
not breathing, so they began CPR. Rosario told me he did not smell any odor of alcohol but believed the subject to be
on something. He recalls hearing the deputies telling the subject to stay down but the subject continued struggling with
the deputies. I asked Rosario how the guy was struggling and he told me he was pushing up and kicking. Rosario again
told me he felt the guy was high on something.

   On May, 12 2014, I called Jose Rosario to obtain his date of birth. While speaking with him I asked if they gave the
subject sedation. Rosario said he did inject Adivan into the buttocks of the subject. He said the subject continued to
struggle for a couple more minutes after the injection. This particular phone conversation was not recorded.

  I then spoke with paramedic Thomas Sinclair, who told me they received a 911 call in reference to a subject with a
laceration to his forehead. Upon arrival, Sinclair observed the subject on the ground and a pool of blood around his
head. He said there were several deputies on top of the subject. Sinclair said they tried to put the subject on a backboard,
but he was very combative, so they attempted to sedate the subject. Sinclair said he was unsure if the sedation was
successful. He assisted in placing the subject on a stretcher and then into the back of the ambulance where he was
placed on a monitor. The subject was not breathing and there was no heart rate. Sinclair said at the subject appeared to
be on something or had a psychological issue. He said he observed the subject kicking, spitting blood, and trying to get
away from the deputies.

  These interviews were recorded on digital recorder and placed into the Foray, as evidence.




                                                                                                                   Page 19
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 20 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                  OCA: 1405401


Case Status: CLEARED BY ARREST                  Case Mng Status: PENDING / ACTIVE                 Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: BLATCHFORD, DAVID T           (1579)                    Date / Time: 05/12/2014 14:28:27, Monday
Supervisor: SESSOMS, PERRY S        (635)            Supervisor Review Date / Time: 05/16/2014 13:57:28, Friday
   Contact:                                                             Reference: Follow Up



 This supplement is being done to add evidence to the case.




                                                                                                                    Page 20
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 21 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                OCA: 1405401


Case Status: CLEARED BY ARREST                Case Mng Status: PENDING / ACTIVE                  Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: PATE, DEBORAH A       (1007)                           Date / Time: 05/13/2014 09:29:44, Tuesday
Supervisor: SESSOMS, PERRY S        (635)          Supervisor Review Date / Time: 05/16/2014 14:18:51, Friday
   Contact: Pate, Deborah A                                           Reference: Follow Up



 On 8/11/14, I was called out to stand by at St. Lucie Medical Center for an in custody injury. Prior to my arrival at the
 hospital that is all the information I was provided.

 Upon arrival, I spoke with medical staff in the emergency room to obtain the name of the person escorted in by rescue
 and deputies. Tavares Lekeith Docher,          , was the name of the individual. Emergency room staff told me he would
 be back in his room shortly. They told me Docher was currently getting a CAT scan.

 Docher returned to the emergency room escorted by D/S Favale #221. I observed Docher lying on the bed in a hospital
 gown with a neck brace and tubing down his throat. He was not awake. Once in the room medical staff hooked him up
 to machines and what appeared to be possible medication being administered via IV lines.

 The medical staff continued to work on him. I took time to speak with D/S Favale #221 to see if he could provide me
 with additional information about the case. D/S Favale #221 provided me with two written statements from "rescue 3
 paramedics."

 The first written statement was by Thomas G. Sinclair, rescue 3 paramedic, who provided the following account of
 events in written statement. Sinclair stated when they arrived the patient was lying left lateral. Sinclair stated the upon
 contact the patient became "extremely" combative. He continued writing the patient was able to fight off 4 or 5
 deputies and rescue while being cuffed. Sinclair stated the patient was administered Ativan on scene. He continued
 saying the patient was then lifted onto the stretcher. Sometime during transfer the patient became unconcious and
 unresponsive. Sinclair then wrote PCR rescue run #16522 for all following treatment.

 The second written statement was by Jose E. Rosario, rescue 3 paramedic, who provided the following account of
 events in written statement. Upon arrival he found several deputies with a combative patient. He stated the patient was
 struggling with deputies on scene that were attempting to keep him calm. The patient`s head showed injuries. Rosario
 decided to chemically sedate him (see SLCFD RR# 16522). Rosario then secured the sharps in the truck. He returned to
 approached the patient and noticed the patient was still combative. Rosario stated the patient was still cuffed.
 Approximately 2-3 minutes later the patient stopped. He wrote deputies assisted with getting the patient to the
 stretcher. He concluded by saying one deputy rode with them to the hospital.

 I observed medical staff still coming and going from Docher`s room administering treatment. I also observed one nurse
 stayed in the room with Docher entering information into the computer. She would go to the bedside of the patient
 checking on him from time to time. Docher was still not awake and still being attended to. I know the nursing staff had
 cleaned up Docher because he had a bowl movement.

 I spoke with D/S Favale to get his account of the events that happened. He told me a call came out for assistance at the
 CVS at the intersection of Floresta Ave and Prima Vista Ave. He told me deputies Newman #280, Robinson #314, and
 Mangrum #213 were on scene. D/S Favale stated when he got there Docher was lying on his left side on the ground.




                                                                                                                    Page 21
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 22 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                                OCA: 1405401


Case Status: CLEARED BY ARREST               Case Mng Status: PENDING / ACTIVE                   Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

D/S Favale stated he observed Docher was bleeding from the mouth area and from some facial abrasions. D/S Favale
stated when they attempted to put Docher on the rescue stretcher Docher began to resist by kicking. D/S Favale stated
he restrained one leg by placing one of his knees on Docher. I asked if anyone else was helping him restrain Docher.
D/S Favale said he thought D/S Alonge was at Docher`s waist area and maybe D/S Robinson was at Docher`s head
area. D/S Favale stated a rescue paramedic gave Docher a shot. D/S Favale said shortly afterward Docher calmed down
thus allowing him to be loaded onto the stretcher.

D/S Favale stated shortly after rescue left the scene he was sent to the hospital to relieve deputies that were already with
Docher.

D/S Favale and myself remained on scene at the hospital until jail deputy Difilippi #576 and Sgt. Jackson arrived to take
over custody and control.

D/S Difilippi, jail deputy, was briefed before we left the scene. D/S Difilippi started to handcuff Docher to the bed. I
stopped him and asked him to ask the tending nurse if she had a preferred wrist to keep uncuffed so she could
administer to Docher any additional IV`s. The nurse told him he was sedated and the choice of wrist did not matter to
her. I smelled a odor (fecal odor) so I looked down on the bed to see it appeared Docher had a second apparent bowl
movement that was leaking into the sheet and spreading. I asked D/S Difilippi if he would wait until staff could get
Docher cleaned up before cuffing him to the bed. I spoke with the nurse and she stated she would get him cleaned up
immediately. While nursing staff members cleaned up Docher; I asked Sgt. Jackson if the jail had any next of kin
information on Docher because the hospital could not provide that to me. Sgt. Jackson provided me with a name of
Janice (possible mother) and with phone number of                    . I informed the initial detective that I had a possible
name and phone number of a relative of Docher.

Docher was cleaned and checked again by nursing. He was then hand cuffed to the bed using leg restraints and hand
restraint. D/S Difilippi and Sgt. Jackson secured Docher to the bed. I thanked the nurse for getting Docher cleaned up
and left the hospital.




                                                                                                                    Page 22
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 23 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST                Case Mng Status: PENDING / ACTIVE               Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: VAZQUEZ, GENYNNE       (1739)                        Date / Time: 05/16/2014 09:29:55, Friday
Supervisor: DEFONZO, JAMES J        (728)         Supervisor Review Date / Time: 05/21/2014 13:09:04, Wednesday
   Contact:                                                         Reference: Crime Scene



 ON SUNDAY 5/11/14 AT APPROXIMATELY 1900 HOURS CSI CARMICHAEL REQUESTED I RESPOND TO
 301 NE PRIMA VISTA BLV. (CVS PHARMACY) IN REFERENCE TO A IN CUSTODY INCIDENT. ON MY
 ARRIVAL AT APPROXIMATELY 2000 HOURS D/S ALONGE ADVISED ME A MALE WAS CAUSING A
 DISTURBANCE IN THE PARKING LOT AND INSIDE THE STORE WITH A SCREW DRIVER. WHEN
 DEPUTES RESPONDED AND ATTEMPTED TO PLACE HIM UNDER ARREST HE BECAME COMBATIVE
 AND HIT HIS HEAD WHILE BEING SUBDUED. I THEN SPOKE WITH SGT SESSOMS WHO REQUESTED I
 BEGIN DOCUMENTING THE SCENE.

 LOCATED IN THE NW CORNER OF THE PARKING LOT THERE WERE SEVERAL ITEMS THAT COULD BE
 OBSERVED LYING ON THE GROUND. OVERALL PHOTOGRAPHS WERE TAKEN OF THE SCENE. PHOTO
 MARKERS WERE PLACED BY ALL EVIDENTIARY ITEMS AND PHOTOGRAPHED. CSI CARMICHAEL AND
 DETECTIVE BYRNES TOOK APPROXIMANT MEASUREMENTS OF THE BELOW LISTED ITEMS AND
 COLLECTED THEM. DNA SWABBINGS WERE COLLECTED FROM PHOTO MARKERS 6,7, AND 8 BY
 MYSELF PRIOR TO MEASUREMENTS. WE CLEARED THE SCENE AT APPROXIMATELY 2200 HOURS.

                                    SW CORNER LIGHT POLE               SE CORNER STORM DRAIN

 PHOTO MARKER # 1                           29` 9" SW                           37` 8" SE
 (TOWEL & HAT)

 PHOTO MARKER # 2                           29` 7" SW                           39` 8" SE
 (L. FLIP FLOP)

 PHOTO MARKER # 3                           26`   SW                              39` 7" SE
  (GLOVES)

 PHOTO MARKER # 4                           27` 6" SW                           34`    SE
  (TOWEL & HAT)

 PHOTO MARKER # 5                           26` 4" SW                           33` 8" SE
  (FLIP FLOP)

 PHOTO MARKER # 6                       19`       SW                            33`     SE
 (SUSPECTED BLOOD)

 PHOTO MARKER # 7                       17` 6" SW                               30` 6" SE
 (SUSPECTED BLOOD)




                                                                                                                  Page 23
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 24 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                      OCA: 1405401


Case Status: CLEARED BY ARREST            Case Mng Status: PENDING / ACTIVE            Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

PHOTO MARKER # 8                    16`      SW                           31`     SE
(SUSPECTED BLOOD)

PHOTO MARKER # 9                    13` 6" SW                            31` 4" SE
  (GLOVES)

PHOTO MARKER #10                    18` 2" SW                            27`      SE
  (CROSS)

PHOTO MARKER#11                     35 ` 10"SW                           49` 5"   SE
  (DETOX CARD)

PHOTO MARKER#12                     12` 3" NE                            29`      SE
(LIGHTER AND CIGAR)

DIME 1                              25` 1" SW                           28` 2"    SE

DIME 2                              26` 8" SW                           29` 7"    SE

ALL ITEMS WERE TRANSPORTED TO THE ST LUCIE COUNTY SHERIFFS OFFICE FOR SUBMISSION INTO
EVIDENCE. CSI CARMICHAEL COLLECTED THE SCREW DRIVER FROM D/S MANGRUM FOR
PLACEMENT INTO EVIDENCE.




                                                                                                         Page 24
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 25 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST                Case Mng Status: PENDING / ACTIVE                Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: VAZQUEZ, GENYNNE       (1739)                        Date / Time: 05/23/2014 13:09:08, Friday
Supervisor: DEFONZO, JAMES J        (728)         Supervisor Review Date / Time: 05/24/2014 09:03:31, Saturday
   Contact:                                                          Reference: Crime Scene



 ON MONDAY 5/12/14 CSI CARMICAHEL AND I RETURNED TO PORT ST LUCIE MEDICAL CENTER TO
 PHOTOGRAPH THE SUSPECT. A NURSE FROM THE HOSPITAL WAS PRESENT FOR PHOTOGRAPHS OF
 THE SUSPECTS INJURIES WITH AND WITHOUT A SCALE.




                                                                                                                 Page 25
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 26 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST               Case Mng Status: PENDING / ACTIVE                Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY


Investigator: BLATCHFORD, DAVID T       (1579)                     Date / Time: 06/06/2014 09:33:16, Friday
Supervisor: SHEELAR, MICHAEL J       (485)        Supervisor Review Date / Time: 06/09/2014 15:42:24, Monday
   Contact:                                                          Reference: Follow Up



 On 05/11/2014, I responded to the CVS located at 301 NE Prima Vista Ave reference an altercation involving Saint
 Lucie County Sheriff`s Office deputies and a subject. Upon arrival, I met with Sgt. Ziarkowski, who gave me the facts
 of the case, see original report for details, and he showed me the witnesses who were waiting to be interviewed by the
 front door of the CVS.

 I then made contact with D/S Tracey who was getting written statements from all of the witnesses and employees of the
 CVS. D/S Tracey gave me all of the written statements she had collected. I reviewed the statements. I then met with
 the witnesses and CVS employees one at a time and conducted audio recorded interviews. All of the interviews were
 later downloaded into Foray. The following are summaries of the interviews:

 Merine Kanhai:

 She was at the CVS with her daughter Ariana Kanhai. She noticed 3-4 Deputies restraining an african american male
 (Doucher) in the parking lot. Deputies elbowed the male (Doucher) in the face. The male (Doucher) was saying "Don`t
 let them kill me". Deputies were saying "Stop resisting arrest, Stop resisting arrest." In her opinion deputies were using
 excessive force. The deputies got the male (Doucher) handcuffed. It took two deputies to get the males (Doucher)
 hands behind his back. The deputies called for an ambulance. Seemed like 10 minutes went by. When the ambulance
 got there deputies were still saying "Stop resisting arrest." The males (Doucher) arms were above his head in cuffs.

 Ariana Kanhai:

 She saw a guy (Doucher) on the ground being held down by deputies. He wasn`t moving much. The deputies were
 telling the man to stop resisting. It took three deputies to handcuff the man (Doucher). The deputies kept hitting him
 (Doucher) after he was handcuffed. The man (Doucher) was yelling "Don`t let them kill me". The deputy by the man`s
 (Doucher) head kept hitting him with his elbows.

 Shaun Mahoney:

 Three deputies were talking to a male (Doucher) apparently arguing. Deputies went to restrain the male (Doucher) and
 there was some initial resistance, but once the deputies got the male (Doucher) on the ground they eventually got his
 (Doucher) hands behind his (Doucher) back and handcuffed him (Doucher). Deputies raised his (Doucher) arms up
 where he could not move. The deputies kept saying, "Stop Resisting". The deputies kept striking him (Doucher) with
 elbows. The male (Doucher) was screaming, "Don`t let them kill me". (It should be noted that Mahoney demonstrated
 what he saw reference the position of Doucher`s arms which I video recorded) Deputies continued to strike the male
 (Doucher) when fire rescue showed up. Mahoney could not answer if he had recorded the incident with his phone.


 Shannon Randolf:




                                                                                                                  Page 26
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 27 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                             OCA: 1405401


Case Status: CLEARED BY ARREST             Case Mng Status: PENDING / ACTIVE                 Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

There were cop cars in the parking lot when they arrived. The cops were talking or arguing with a male (Doucher)
heatedly. When she got out of the car he (Doucher) was on the ground with his hands behind his back and the cops were
"beating the shit out of him (Doucher)". She didn`t know if he was handcuffed or not. The male said "Please don`t let
them kill me." Shaun (Mahoney) started recording it and the cops told them to move away. They went in to get drinks.
When they went back out it was still going on. The male (Doucher) was still on the ground. When rescue arrived the
male (Doucher) started moving around again and she thinks 4 cops jumped on him.

Zackery Taylor:

He saw a man (Doucher) in cuffs. Deputies were hitting the man (Doucher) with elbows. The man (Doucher) was
saying "Don`t let them kill me." He (Doucher) was bleeding from the mouth, face, and eyes.The ambulance came and
he (Doucher) was put on a stretcher.

Leaha Boles:

She was the main cashier. He (Doucher) came in. He (Doucher) was all "delusional and paranoial". He (Doucher)
asked for the phone because he needed help. He (Doucher) told her his (Doucher) aunt was being held hostage, there
are murderers, and someone threatened to kill him (Doucher) if he went in to help his aunt. He (Doucher) asked her to
pick up the phone and call someone because he (Doucher) needed help. Her supervisor came up and dialed 911 for him
(Doucher). He (Doucher) kept saying "flagger street" while on the phone. Mark finished the conversation with 911. He
(Doucher) kept talking out loud about murderers being in the house, that he (Doucher) was going to tell the cops and get
a reward. He (Doucher) was very sweaty, had bad body odor, was acting "not normal", his (Doucher) speech was
slurred and accelerated. He (Doucher) had a screwdriver but did not threaten her. He (Doucher) bought a black & mild.

Samantha Gilewski:

Boles called for a manager and she went up to the front. He (Docher) was pacing, acting nervous, and delirious. He
(Docher) was on something because his eyes were bulging. He (Docher) kept talking about murderers, ransom, and
rewards. He (Docher) tried to put the screwdriver under a cart and she told him (Docher) that he couldn`t do that. He
(Docher) was "out of it". The 911 operator couldn`t understand him because he was slurring. He (Docher) was talking
fast. She didn`t know if he was high or drunk or what.

Cathy Wunderlich:

When she pulled up two officers were talking to a young man (Docher). He (Docher) might have had mental issues.
The officers were standing there listening. He (Docher) was talking quickly, moving his hands around animated. He
(Docher) might have been on drugs or high or something. She went in the store and when she came out she saw the
blood and flip flops.

I then reviewed the CVS in store video. Docher is seen entering the store at approximately 1757 hours. He approached
the cashier (Boles) while she was helping a customer, interrupts the transaction and converses with Boles. The
customer that had been being helped leaves and the manager (Brown) comes up, hands Docher the phone and Docher
speaks into the phone for a minute and then hands it to Boles who then gives it to the Brown. Docher tries to talk to the
Brown while he is on the phone. Docher appears agitated and animated. Docher purchases something from Boles.
The whole time Docher was on video in the store, he was pacing, constantly moving his arms, hands , and feet. At




                                                                                                                Page 27
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 28 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST              Case Mng Status: PENDING / ACTIVE                 Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

approximately 1803 hours, Docher walks just outside the front doors of the store. Docher constantly moves around
apparently talking to himself. At approximately 1804 hours Deputies Mangrum and Robinson arrive. Docher and the
deputies are off camera for a few minutes. At approximately 1806 hours, Docher is at the front of the marked patrol car
speaking with D/S Newman and D/S Mangrum. At approximately 1817 hours, while deputies are still talking to Docher
at the front of the patrol vehicle, Shaun Mahony, Shannon Randolf, and Zackery Taylor walk into the store. Between
1817 hours and 1820 hours, Docher, while speaking with the three deputies, appears very animated, moving his body
and hands around. At approximately 1820 hours, Docher is placed in handcuffs. Docher is searched and the deputies
and Docher go out of camera view. At approximately 1822 hours, the deputies and Docher appear back in camera view,
a few feet west of the patrol vehicle. Docher appears to be on the ground with the deputies around him. The deputies
appear to be struggling to control Docher. At approximately 1821 hours Shaun Mahony, Shannon Randolf, and Zackery
Taylor are on camera at the register purchasing drinks. They exit the store at approximately 1822 hours. Mahoney
immediately started looking in the direction of the deputies and Docher. Taylor and Randolf look towards the deputies
and Docher occasionally but are in a conversation looking away from the deputies and Docher at the same time. At
approximately 1824 hours, Mahoney stands by a tree slightly south and east of the deputies and Docher. At 1825 hours,
Mahoney moves closer to the deputies and Docher. The deputies continue to struggle with Docher. At approximately
1825 hours, D/S Newman stands up and Detective Courtemanche arrives on-scene. Detective Courtemanche moves
Mahoney and the rest of the crowd that had formed away from Docher and the deputies. At 1827 hours, D/S Tracey is
seen on camera directing people that are not involved in the incident. Many other Sheriff Office vehicle`s arrive by
1831 hours. It is hard to see when Fire Rescue arrives but by approximately 1832 hours a gurney or backboard is seen
by Docher. By approximately 1838 hours it appears that Docher had been turned over to Fire Rescue.

Detective Taylor and I then interviewed Sgt. Ziarkowski. The following is a summary of the interview:

He heard the initial calls for assistance on the radio. He was up north, turned around and started to head toward the call.
He then heard D/S Mangrum request Rescue and a supervisor over the radio. When he arrived on-scene the deputies
were holding the subject (Docher) on the ground. There was a lot of blood. The deputies had blood on their arms. The
subject (Docher) was calm. Rescue arrived and when the medics tried to work on him (Docher) he (Docher) became
combative. While D/S Mangrum, D/S Alonge, D/S Robinson were holding the subject (Docher) down he did a push-up
lifting himself (Docher) and all three deputies. He (Docher) went calm and then he (Docher) went nuts again. Deputies
were telling the subject (Docher) to stop resisting. The subject (Docher) was spitting blood at the deputies.

Detective Taylor and I then interviewed Officer J. Borras #573 PSLPD. The following is a summary of the interview:

At approximately 1700 hours he was dispatched to                        reference a 911 Hang-up. All dispatch could
advise about the original call was that a male was on the phone saying that someone was getting hit with a stick.
Dispatch called the number back, a female answered the phone and advised that no one was getting hit with a stick that
she was just trying to get her son out of her car. He proceeded to                  He asked if Tavares (Docher) was
there. Tavares (Docher) said that two people were fighting in front of the house and one was getting hit with a stick.
Officer Borras did not notice any injuries to Tavares (Docher). Officer Borras felt that he (Docher) was possibly
mentally handicapped. His (Docher) speech was accelerated.

Detective Pfeiffer extracted the video from Mahoney`s cell phone after he consented to the search. I reviewed the
video`s Det. Pfeiffer provided from the search. Of the five video clips acquired from Mahoney`s phone only one is of
any value. The video that is of value is labeled as VID_20140511_182840096. The video does not have a time and
date stamp. A review of the video shows the following:




                                                                                                                  Page 28
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 29 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                           OCA: 1405401


Case Status: CLEARED BY ARREST             Case Mng Status: PENDING / ACTIVE                Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

Docher is face down on the ground approximately 6 to 8 feet south of a patrol vehicle and a parking space and a half
west of the curb that is around the landscape island in front of the CVS. D/S Robinson is at Docher`s feet, D/S Newman
is on his knees Docher`s right side, and D/S Mangrum is on his knees at Docher`s head. Docher says, "They funna kill
me." D/S Mangrum is trying to control Docher`s upper body and communicate via the radio to dispatch and responding
units. D/S Newman, Mangrum, and Robinson stand. D/S Newman notices he has an injury to his elbow and is seen
communicating via the radio also. Docher says, "I`m going to get up. I`m going to get up." and is seen struggling to
stand. D/S Mangrum moves Docher`s hands from his back to directly over his shoulder blades arms fully extended.
D/S Mangrum placed his left foot directly between his shoulder blades to prevent Docher from being able to stand.
Docher then says, "They funna kill me, Don`t let`em take me." Docher continued to struggle moving his hips and
kicking his feet. D/S Robinson delivered some empty hand strikes to Docher`s lower back while saying, "Stop
resisting." Docher responded to Robinson saying, "No." D/S Mangrum advised Docher to stop resisting because they
were attempting to get medical attention for him. Docher then replied, "Allright." D/S Mangrum then addressed the
crowd and asked them to "back up please" D/S Newman got a roll of paper towels from the patrol vehicle, tore off a
length of towel and told Docher to close his eyes while he (Newman) applied pressure to the wound above Docher`s
eye.

That was the end of the video.

Detective Taylor and I then met with all of the involved deputies one at a time and conducted audio recorded
interviews. All of the interviews were later downloaded into Foray. The following are summaries of the interviews:

Deputy Newman:

He and D/S Robinson #314, who was riding with D/S Mangrum #214, were dispatched to a 911 hang-up at 301 SE
Prima Vista Blvd. the CVS. Dispatch advised that the caller had said someone was being kidnapped. D/S Mangrum
and D/S Robinson arrived first. When he arrived D/S Mangrum was talking to Tavares (Docher). Tavares (Docher) had
a screwdriver in his right hand and was acting out of sorts being very loud, waving his arms around, animated, sweating,
constantly moving around . D/S Mangrum told him (Docher) to sit down. He (Docher) sat down and put the
screwdriver down so he kicked it away from his (Docher) reach. He (Docher) smelled like he had been drinking. When
he asked Tavares (Docher) if he had been drinking he (Docher) said he had some liquor at his aunt`s house who lived on
Flaggler street. When he asked Tavares (Docher) again what he had to drink he (Docher) replied that he (Docher) had
Natural Ice, which is a strong beer. Tavares (Docher) started talking about how the Arabs in Broward County were
trying to kill him (Docher) and his (Docher) mother because they had seen the Arabs behead a body and dump the body
in Saint Lucie County. He (Docher) stated he had the screwdriver because the Arabs were coming to kill him (Docher).
D/S Newman asked to see his (Docher) hands and teeth and he (Docher) replied that he (Docher) didn`t smoke crack
but he could see them. Newman thought Tavares`s (Docher) teeth were messed up from either bad hygiene or meth use.
Tavares (Docher) would not make sense but could give all of his (Docher) pedigree information accurately. They (D/S
Mangrum and D/S Newman) decided to arrest Tavares (Docher) for disorderly because he (Docher) was casing a
commotion in the parking lot and the manager had expressed concerns reference him (Docher) being in the store with a
screwdriver that he (Docher) may hurt someone. He (Docher) complied with the arrest, was handcuffed, taken to the
marked patrol vehicle, and sat in the car. When D/S Newman asked him (Docher) to put his feet in the car, he (Docher)
just sat there. When D/S Newman asked again he (Docher) looked around, stood up, and threw a knee. D/S Newman
attempted to grab Tavares (Docher) around the front and he (Docher) came at D/S Newman with his mouth open like he
was going to bite him. Tavares (Docher) started flailing and his (Docher) elbow hit D/S Newman in the left eye.
Tavares then dragged D/S Newman, D/S Mangrum, and D/S Robinson about 8 feet across the parking lot until they




                                                                                                               Page 29
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 30 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                            OCA: 1405401


Case Status: CLEARED BY ARREST             Case Mng Status: PENDING / ACTIVE                 Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

finally got him (Docher) on the ground. Tavares (Docher) got one cuff up close to his (Docher) elbow and moved his
(Docher) arms around so he (Docher) was able to place one hand on the ground and push upward. D/S Robinson
attempted to control his (Docher) legs using a technique taught in spear training to fold one foot over placing the foot
behind the opposite knee and then fold the opposite leg up holding it to the subjects body with the deputies body weight.
Tavares (Docher) was able to curl up and push D/S Robinson forward into D/S Newman and D/S Mangrum. D/S
Newman was holding him (Docher) with his right hand on his (Docher) jawline to the back of his (Docher) head
attempting to keep his head down. Tavares (Docher) bit D/S Newmans right thumb, fortunately it was gloved. At that
point D/S Newman delivered an elbow strike to his (Docher) head. He (Docher) turned his head and attempted to bite
D/S Mangrum. Tavares (Docher) continued to kick his (Docher) feet and move his (Docher) body about. He (Docher)
turned his head back toward D/S Newman and attempted to bite D/S Newman again. D/S Newman delivered another
elbow strike to his (Docher) head. He (Docher) started bleeding bad. The whole time all three deputies were
continuously telling Docher to calm down, relax, breeth, and stop resisting. The deputies were also trying to
communicate with dispatch to get rescue to come to treat Docher`s injuries D/S Alonge arrived and took D/S
Newman`s spot. D/S Newman went to his car and got some paper towels. D/S Newman wiped some of the blood from
his (Docher) face and attempted to stop the bleeding. He (Docher) kicked a rescue guy when he (rescue person) was
attempting to treat him (Docher). Rescue gave him (Docher) a shot which calmed him (Docher) down. They were able
to get him (Docher) on a gurney and into the ambulance. At that time, rescue advised D/S Newman that the subject
(Docher) had coded. D/S Newman relayed that information to Sgt. Ziarkowski. D/S Newman suffered injuries to his
elbow, knee, and just under his left eye.

D/S Mangrum:

He responded to 301 SE Prima Vista Blvd, CVS reference a 911 hang-up. While en-route, he heard the audible tone of
the computer updating so he checked it and read that they were going to be flagged down by a black male wearing a
green shirt and black shorts reference a person being held against their will. He noticed the male (Docher) matching the
description. He (Docher) immediately started walking, at a fast pace, towards D/S Mangrum`s vehicle. During the
initial contact with him (Docher), he (Docher) wasn`t making much sense. He (Docher) was talking about a homicide
in Broward County and asking if D/S Mangrum knew about a headless body in St. Lucie County. They (deputies) got
him (Docher) to calm down a little bit, sit down, and empty his hands. He (Docher) dropped the screwdriver and D/S
Newman brushed it away with his foot. He (Docher) kept talking about homicides and Arabs. They (Deputies)
detected alcohol on his (Docher) breath and asked if he had been drinking. He (Docher) replied that he had been
drinking Natty Ice. His (Docher) behavior was erratic, he (Docher) had created a huge distraction at CVS so they
decided to arrest him for disorderly intoxication. He (Docher) complied with the arrest. They took him (Docher) to the
patrol vehicle, he (Docher) sat in the patrol vehicle. D/S Newman asked him (Docher) twice to put his feet in the
vehicle because they needed to leave. Out of the blue, he (Docher) stood up rapidly and threw a knee, like a knee strike.
D/S Newman bladed off to avoid being struck. D/S Robinson attempted to push his (Docher) head back down but was
unsuccessful. He (Docher) dragged all three deputies approximately 10 feet and then went to the ground with all three
deputies. He (Docher) was struggled violently. He (Docher) was pushing, biting, trying to head butt the deputies. He
slipped his handcuff up to his elbow and had full use of his arm. He (Docher) seemed to gain strength. He (Docher)
had chained cuffs on. They attempted to put hinged cuffs on him (Docher). He (Docher) was kicking, he kept curling
D/S Robinson, who was attempting to control his (Docher) legs, up into the other deputies. He (Docher) tried many
times to bite D/S Mangrum. D/S Mangrum, while trying to control the subject (Docher) was also trying to
communicate with dispatch to get additional units, get rescue to respond, and notify a supervisor of the situation. D/S
Mangrum noticed Docher go limp so he checked for heartbeat and breathing and put him (Docher) in the recovery
position. When rescue arrived and attempted to start treating him (Docher), he (Docher) came to and started fighting




                                                                                                                Page 30
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 31 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                           OCA: 1405401


Case Status: CLEARED BY ARREST             Case Mng Status: PENDING / ACTIVE                Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

again. He kicked at the rescue personnel and curled his body violently toward the deputies. Rescue gave him (Docher)
a shot and approximately a minute later, he (Docher) was calm enough to be placed on a gurney and placed into the
ambulance.


D/S Tracey:

She responded to 301 SE Prima Vista Blvd, CVS, reference D/S Newman requested additional units for crowd control.
She blocked off one of the entrances to the CVS. She kept the crowd back. She guided the paramedics into the CVS
parking lot. A backboard was placed down by the subject (Docher) and he (Docher) started biting and kicking. The
medics were talking about medically sedating him (Docher). He (Docher) was still biting at the deputies. A medic gave
him (Docher) a shot to sedate him (Docher). D/S Tracey aiding in lifting him onto the stretcher and moving him
(Docher) to the ambulance. D/S Tracey took pictures of the scene. D/S Tracey started the crime scene log but turned it
over to D/S Alonge for completion.

D/S Alonge:

He responded to 301 SE Prima Vista Blvd, CVS, reference calls for assistance from deputies. He observed the deputies
struggling to keep the male (Docher) on the ground. The male (Docher) was bleeding from the face. A deputy,
possibly D/S Mangrum was applying pressure to his (Docher) face. The male (Docher) lifted himself (Alonge), D/S
Favale, D/S Newman, D/S Mangrum, and D/S Robinson up off the ground when he saw the backboard. Rescue gave
the male (Docher) a shot, loaded the male (Docher) on a gurney, took him to the ambulance and started to work on him.

On 05/12/14 at approximately 0900 hours, I went to                                           and attempted to contact
Docher`s family. No one answered the door so I left a business card in the door requesting a phone call.

At approximately 1553 hours, I returned to                  and met with Stephany Spears, Docher`s cousin, and June
Docher, Docher`s aunt. I conducted an audio recorded interview which was later downloaded into foray. The following
is a summary of the interview:

Tavares (Docher) has mental problems. When he was arrested for loitering and being intoxicated he was sent to be
evaluated for mental problems but was not diagnosed with anything. Tavares (Docher) is like a little kid in a grown
mans body. Tavares called 911 when he got here because he didn`t want to stay here. Tavares wanted cigarettes and
wanted beer. He (Docher) was restless and left. June called the jail looking for him (Docher). He (Docher) did not
have any beers at the house. He (Docher) did have a few dollars with him (Docher). He (Docher) may do a little
cocaine (powder) but she did not think he (Docher) had done any that day. He (Docher) does not hallucinate but he
does drink and talk to himself. He called 911 because he wanted to drive back to Pompano Beach with his mother and
she wouldn`t take him. He (Docher) was asking June about something going on with his (Docher) mother and that she
(June) needed to tell him about it. June remembered that Tavares (Docher) had mentioned a friend named Alex that was
murdered down south. Alex had been decapitated. June did not understand what Docher was talking about when I told
her that he (Docher) was talking about his (Docher) aunt being kidnapped. June said that Tavares wouldn`t be still, he
(Docher) was restless, he (Docher) said he was owed $10 in Pompano and his (Docher) mother did not give him
(Docher) time to get the $10 or his (Docher) cigarettes.

I advised June Docher that Tavares Docher had an altercation with Sheriff`s Deputies and as a result was injured and




                                                                                                               Page 31
  Case 2:16-cv-14413-RLR Document 134-1 Entered on FLSD Docket 10/27/2017 Page 32 of
                           CASE SUPPLEMENTAL
                                        32
                                         32      REPORT             Printed: 10/07/2014 09:16


St. Lucie County Sheriff`s Office                                                              OCA: 1405401


Case Status: CLEARED BY ARREST                   Case Mng Status: PENDING / ACTIVE             Occurred: 05/11/2014

   Offense: ASSAULT / BATTERY

transported to Port Saint Lucie Hospital where he was being treated and he was under arrest.

On 05/13/14, Det. Taylor sent a letter to St. Lucie Medical Center requesting Tavares Docher`s "admission blood" be
sequestered.

On 05/14/14, I contacted Janice Docher-Neeley reference her son Tavares Docher. Mrs. Docher-Neeley was
confrontational and did not cooperate with me in having a conversation. Mrs. Docher-Neeley advised that she would
not talk to me, she would have her attorney call me.

On 05/15/14, I received blood test result records from St. Lucie Medical Center pursuant to a request for results of tests
for HIV, Hepatitis B & C, and Syphilis. The medical center could not locate the requested test results at the time of my
visit but did give me the documented test results from Tavares Docher`s blood draw upon admission. The test for
Tavares Docher`s Blood Alcohol level showed a .38 BAC on 05/11/2014 at 1938 hours.

On 05/16/14, I received the test results for the                           results which were provided to Human
Resources for the blood exposure.

On 06/06/14, I received the video from the CVS located at 301 SE Prima Vista Blvd from 05/11/2014 from
approximately 1715 hours to approximately 1915 hours. The video was reviewed, copies were made, and the original
was placed into evidence.

I reviewed all of the supplements and supporting documents related to this case.

As a result of my investigation I believe the appropriate charges were filed against Tavares Docher.

This case is closed, cleared by arrest, adult.




                                                                                                                  Page 32
